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                                          Office of the United States Trustee
                        In re: ICPW Liquidation                     Post-Confirmation Status
                        Corporation, a California                           Report
                        corporation, et al.

                        Chapter 11 Case No: Lead Case            Quarter Ending:     12/31/2019
                        No.: 1:17-bk-12408-MB
                        Jointly administered with:
                        1:17-bk-12409-MB


 Attorney/Professional - Name, Address,                       Person responsible for report - Name, Address,
 Phone & FAX:                                                 Phone & FAX:
 Samuel R. Maizel & Tania M. Moyron                           Matthew Pliskin
 DENTONS US LLP                                               3902 Henderson Blvd., Suite 208-336
 601 South Figueroa Street, Suite 2500                        Tampa, FL 33629
 Los Angeles, California 90017-5704                           Telephone: (917) 543-2568


 Date Order was entered confirming              February 13, 2018
 plan
 Disbursing Agent (if any) (Please print)       KCC LLC


 SUMMARY OF DISBURSEMENTS MADE DURING THE QUARTER
 Disbursements made under the plan              $506,761.32
 Other Disbursements                            $282,733.85
                        Total Disbursements $789,495.17


 Projected date of final decree                 TBD based on resolution of litigation.
 What needs to be achieved before a             Resolution of litigation against BDO.
 final decree will be sought? (Attach a
 separate sheet if necessary)


 Narrative of events which impact upon          None. Since the last reporting period, the Trustee has settled
 the ability to perform under the               litigation against Radians Wareham Holdings, Inc.
 reorganization plan or other significant
 events that have occurred during the
 reporting period (Attach a separate
 sheet if necessary)

 Date last U. S. Trustee fee paid               January 31, 2020

Revised
)       December 2001            POST-CONFIRMATION STATUS REPORT (Page 1 of 1)                                   USTLA-7
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 Amount Paid                                 $5,200.00

I declare under penalty of perjury that the information contained in the document is true, complete and correct.




                                                            Signature of person responsible for this report
 Date: 2/20/2020


This report is to be filed with the U.S. Trustee quarterly until a final decree is entered. This report is for U.S.
Trustee purposes only. You may be required to file additional reports with the Bankruptcy Court.




Revised
)       December 2001        POST-CONFIRMATION STATUS REPORT (Page 2 of 1)                                    USTLA-7
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MONTHLY OPERATING REPORT -                                                                                                                  ATTACHMENT NO. 1
POST CONFIRMATION




                                                       QUESTIONNAIRE
                                                                                                                           YES*       NO
1.     Have any assets been sold or transferred outside the normal course of
       business, or outside the Plan of Reorganization during this reporting period?                                              x
2.     Are any post-confirmation sales or payroll taxes past due?
                                                                                                                                  x
3.     Are any amounts owed to post-confirmation creditors/vendors over 90 days
       delinquent?                                                                                                                x
4.     Is the Debtor current on all post-confirmation plan payments?
                                                                                                                       x


      *If the answer to any of the above questions is "YES," provide a detailed explanation of each item on a separate sheet.

       The Debtor is current on all post-confirmation plan payments



                                                INSURANCE INFORMATION
                                                                                                                           YES        NO*
1.     Are real and personal property, vehicle/auto, general liability, fire, theft, worker's
       compensation, and other necessary insurance coverages in effect?                                                           x
2.     Are all premium payments current?
                                                                                                         x
      *If the answer to any of the above questions is "NO," provide a detailed explanation of each item on a separate sheet.

                            No physical operation or location to insure, E&O Coverage is maintiained as stated below.


                                                                CONFIRMATION OF INSURANCE
                                                                                                                           Payment Amount   Delinquency
                   TYPE of POLICY          and            CARRIER                                 Period of Coverage        and Frequency     Amount
Professional Liability Full Program - Underwriters at Lloyd's, London                           5/23/19-20                 8576.16 Annual        0




                       DESCRIBE PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD:




     Estimated Date of Filing the Application for Final Decree:                                     TBD
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MONTHLY OPERATING REPORT -                                                                                   ATTACHMENT NO. 2
POST CONFIRMATION

                                   CHAPTER 11 POST-CONFIRMATION
                              SCHEDULE OF RECEIPTS AND DISBURSEMENTS


Case Name:             ICPW Liquidation Corporation, a California corporation, et al.

Case Number:           Lead Case No. 1:17-bk-12408-MB

Date of Plan
Confirmation:          2/28/2018

                        All items must be answered. Any which do not apply should be answered “none” or “N/A”.



                                                                                        Quarterly            Post Confirmation Total
1.   CASH (Beginning of Period)                                            $                4,967,578.47 $               15,367,377.27


2.   INCOME or RECEIPTS during the Period                                  $                   16,915.44 $                2,279,664.62
                     NOTE : $34,217.78 of the PCT receipts were payments from BBI customers to be remitted to BBI
3.   DISBURSEMENTS
     a.  Operating Expenses (Fees/Taxes):
          (i)          U.S. Trustee Quarterly Fees                         $                   16,740.74 $                  126,874.18
          (ii)         Federal Taxes                                                                                        100,000.00
          (iii)        State Taxes                                                                                           41,597.38
          (iv)         Other Taxes                                                                                                0.00
                                                                                                                                     0
     b.   All Other Operating Expenses:                                    $                  265,993.11 $                3,078,437.98
                       Note: Includes $0 and $1,121,995.90 remitted to
                       BBI
     c.   Plan Payments:
          (i)        Administrative Claims                                 $                        0.00 $                1,282,400.39
          (ii)       Class One*                                                                     0.00                     55,516.47
          (iii)      Class Two                                                                      0.00                          0.00
          (iv)       Class Three                                                                    0.00                          0.00
          (v)        Class Four                                                                     0.00                          0.00
          (vi)       Trust Beneficiaries                                                      506,761.32                  8,767,216.75
                     (Attach additional pages as needed)
                     * Note: Re-issuance of payments already
                     scheduled


     Total Disbursements (Operating & Plan)                                $                  789,495.17 $               13,452,043.15


1.   CASH (End of Period)                                                  $                4,194,998.74 $                4,194,998.74
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MONTHLY OPERATING REPORT -                                                                                                                                                                         ATTACHMENT NO. 3
POST CONFIRMATION



                                                                            CHAPTER 11 POST-CONFIRMATION
                                                                            BANK ACCOUNT RECONCILIATIONS
                                                                     Prepare Reconcilation for each Month of the Quarter

Bank Account Information
                                                        Account              Account             Account            Account             Account            Account            Account             Account
                                                           #1                   #2                 #3                 #4                  #5                 #6                 #7                  #8
Name of Bank:                                       Signature Bank       Signature Bank      TD Bank            TD Bank             TD Bank            TD Bank            TD Bank             TD Bank

Account Number:                                            0112                0120                4123                3018                9869              9893                4074                4058

                                                                         Excess Cash                            Operating
Purpose of Account (Operating/Payroll/Tax)          Disbursment          Reserve             Disbursement       Reserve             Class 1 Reserve    Tax Reserve        Class 3 Reserve     Class 4 Reserve

Type of Account (e.g. checking)                     Checking             Checking            Checking           Money Market        Money Market       Money Market       Money Market        Money Market
                                                    x                    x                   xx                 xx                  xx                 xx                 xx                  xx

1. Balance per Bank Statement Beginning of period          652,856.18          262,590.28           32,012.25         923,933.23          391,408.34          92,195.54        2,356,458.59         256,124.06

Deposits                                                                            239.67         210,294.13           2,179.91              570.49             134.38            3,434.62             373.31

Withdrawals                                                -482,285.15                            -109,946.27         -210,294.13
1. Balance per Bank Statement                              170,571.03          262,829.95          132,360.11         715,819.01          391,978.83          92,329.92        2,359,893.21         256,497.37

2. ADD: Deposits not credited

3. SUBTRACT: Outstanding Checks

4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)               170,571.03          262,829.95          132,360.11         715,819.01          391,978.83          92,329.92        2,359,893.21         256,497.37


Note: Attach copy of each bank statement and bank reconciliation.



Investment Account Information
                                                          Current            Current             Current            Current             Current            Current            Current             Current
           Bank / Account Name / Number                    Value              Value               Value              Value               Value              Value              Value               Value

N/A




Note: Attach copy of each investment account statement.
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POST CONFIRMATION



                                                                            CHAPTER 11 POST-CONFIRMATION
                                                                            BANK ACCOUNT RECONCILIATIONS
                                                                     Prepare Reconcilation for each Month of the Quarter

Bank Account Information
                                                        Account              Account              Account               Account              Account              Account              Account              Account
                                                           #2                   #3                  #4                    #5                   #6                   #7                   #8                   #9
Name of Bank:                                       Signature Bank       Signature Bank       TD Bank               TD Bank              TD Bank              TD Bank              TD Bank              TD Bank

Account Number:                                            0112                0120                 4123                  3018                  9869                9893                  4074                 4058

                                                                         Excess Cash                                Operating
Purpose of Account (Operating/Payroll/Tax)          Disbursment          Reserve              Disbursement          Reserve              Class 1 Reserve      Tax Reserve          Class 3 Reserve      Class 4 Reserve

Type of Account (e.g. checking)                     Checking             Checking             Checking              Money Market         Money Market         Money Market         Money Market         Money Market
                                                    x                    x                    x                     x                    x                    x                    x                    x

1. Balance per Bank Statement Beginning of period          170,571.03          262,829.95           132,360.11            715,819.01           391,978.83            92,329.92          2,359,893.21          256,497.37

Deposits                                                                            237.73           14,920.98                  897.09             499.37               117.63              3,006.44              326.77

Withdrawals                                                 -17,684.53                             -101,095.86             -14,920.98
1. Balance per Bank Statement                              152,886.50          263,067.68            46,185.23            701,795.12           392,478.20            92,447.55          2,362,899.65          256,824.14

2. ADD: Deposits not credited

3. SUBTRACT: Outstanding Checks

4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)               152,886.50          263,067.68            46,185.23            701,795.12           392,478.20            92,447.55          2,362,899.65          256,824.14


Note: Attach copy of each bank statement and bank reconciliation.0.00                  0.00                  0.00                 0.00                 0.00                 0.00                 0.00                 0.00



Investment Account Information
                                                          Current            Current              Current               Current              Current              Current              Current              Current
           Bank / Account Name / Number                    Value              Value                Value                 Value                Value                Value                Value                Value

N/A




Note: Attach copy of each investment account statement.
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POST CONFIRMATION




                                                                                     CHAPTER 11 POST-CONFIRMATION
                                                                                     BANK ACCOUNT RECONCILIATIONS
                                                                               Prepare Reconcilation for each Month of the Quarter

Bank Account Information
                                                        Account             Account              Account              Account              Account              Account              Account              Account
                                                           #2                  #3                  #4                   #5                   #6                   #7                   #8                   #9
Name of Bank:                                       Signature Bank      Signature Bank       TD Bank              TD Bank              TD Bank              TD Bank              TD Bank              TD Bank

Account Number:                                           0112                0120                 4123                 3018                  9869                9893                  4074                 4058

                                                                        Excess Cash                               Operating
Purpose of Account (Operating/Payroll/Tax)          Disbursment         Reserve              Disbursement         Reserve              Class 1 Reserve      Tax Reserve          Class 3 Reserve      Class 4 Reserve

Type of Account (e.g. checking)                     Checking            Checking             Checking             Money Market         Money Market         Money Market         Money Market         Money Market


1. Balance per Bank Statement Beginning of period         152,886.50          263,067.68            46,185.23           701,795.12           392,478.20            92,447.55          2,362,899.65          256,824.14

Deposits                                                                           245.88           56,740.74                 828.75             483.34              113.85               2,909.93              316.28

Withdrawals                                                 -6,791.64                              -71,691.72            -56,740.74

1. Balance per Bank Statement                             146,094.86          263,313.56            31,234.25           645,883.13           392,961.54            92,561.40          2,365,809.58          257,140.42

2. ADD: Deposits not credited

3. SUBTRACT: Outstanding Checks                            -98,163.29

4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)               47,931.57          263,313.56            31,234.25           645,883.13           392,961.54            92,561.40          2,365,809.58          257,140.42


Note: Attach copy of each bank statement and bank reconciliation.0.00                 0.00                 0.00                 0.00                 0.00                 0.00                 0.00                 0.00



Investment Account Information
                                                        Current             Current              Current              Current              Current              Current              Current              Current
           Bank / Account Name / Number                  Value               Value                Value                Value                Value                Value                Value                Value
N/A




Note: Attach copy of each investment account statement.
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POST CONFIRMATION

                                            CHAPTER 11 POST-CONFIRMATION
                                       CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                             Signature Bank
Account Number                                                                    0112
Purpose of Account (Operating/Payroll/Personal)                          Escrow
Type of Account (e.g., Checking)                                         Checking

 Check          Date of
Number        Transaction                      Payee                                     Purpose or Description        Amount
   1380           10/1/2019 Adrianna Meyer                               Trust Distribution                                50.50
   1387           10/1/2019 Annalouise Jaeger & Keith Verwoest           Trust Distribution                               642.22
   1421           10/1/2019 Clear Vista Select Opportunities Fund LP     Trust Distribution                             4,852.81
       1429       10/1/2019   David G Hill                               Trust Distribution                                153.96
       1435       10/1/2019   Debra H Taylor                             Trust Distribution                                202.00
       1485       10/1/2019   John E Orcutt & Marcia Orcutt Jt Ten       Trust Distribution                                606.00
       1489       10/1/2019   John Mcilvery                              Trust Distribution                              4,254.42
       1492       10/1/2019   Jonathan Hodes                             Trust Distribution                              3,787.68
       1515       10/1/2019   Laura B Pannier                            Trust Distribution                                 40.40
       1528       10/1/2019   Mark R Gosman & Donna Gosman JT Ten        Trust Distribution                              1,070.60
       1531       10/1/2019   Matthew Juetten                            Trust Distribution                                511.42
       1535       10/1/2019   Merrill Lynch Pierce Fenner & Smith Inc.   Trust Distribution                                505.00
       1541       10/1/2019   Michael Grossman                           Trust Distribution                              3,361.66
                              Michael Ray Cooper & Elizabeth King
       1543       10/1/2019   Cooper JT TEN                              Trust Distribution                               121.20
                              Scott Wayne Ireland & Kristina Marie
       1605       10/1/2019   Ireland Jt Ten                             Trust Distribution                              1,351.16
       1617       10/1/2019   Steven Skalecki                            Trust Distribution                              9,716.20
       1627       10/1/2019   The Orcutt Family Trust                    Trust Distribution                             40,400.00
       1649       10/1/2019 Xin Guo                                      Trust Distribution                              1,018.85
       1419       10/2/2019 Christopher M Hazlitt                        Trust Distribution                                115.46
       1420       10/2/2019 Clayton Wyoming LLC                          Trust Distribution                             10,743.47
       1562       10/2/2019 Pat Collins                                  Trust Distribution                              4,040.00
                              Restated Agreement of the Vane Clayton
                              Revocable Trust DTD 2/23/06 Vane &
       1578       10/2/2019   Cassandra Clayton TTEEs                    Trust Distribution                              2,052.32
       1621       10/2/2019   Tamalpais Partners                         Trust Distribution                              1,223.09
       1650       10/2/2019   Ying Ting Yang                             Trust Distribution                                632.26
       1381       10/3/2019   Alan Hsu                                   Trust Distribution                                161.60
       1408       10/3/2019 Carrie Lelo                                  Trust Distribution                                60.60
                            Raymond James & Associates Inc. Cust
       1576       10/3/2019 FBO Makarios Palios IRA (64223169)           Trust Distribution                               505.00
                            Raymond James & Associates Inc. Cust
       1577       10/3/2019 FBO Makarios Palios Roth IRA (64087280)      Trust Distribution                                505.00
       1639       10/3/2019 V Joseph Stubbs                              Trust Distribution                              7,593.40
Wire              10/3/2019 TD Ameritrade Inc                            Trust Distribution                            236,316.08
       1383       10/4/2019 Alex Rotonen                                 Trust Distribution                                101.00
       1389       10/4/2019 Arthur Gerrick                               Trust Distribution                              1,010.00
       1516       10/4/2019 Leslie C Schuette                            Trust Distribution                              2,080.60
       1575       10/4/2019   R D Pete Bloomer                           Trust Distribution                             15,378.08
       1595       10/4/2019   Ronald D Bloomer                           Trust Distribution                              2,254.14
       1596       10/4/2019   Ronald J Schuette                          Trust Distribution                              2,323.00
       1497       10/7/2019   Katherine Defevere                         Trust Distribution                                456.96
       1498       10/7/2019 Keala Wheeler                                Trust Distribution                                63.77
                            Kronman, Matthew & Associates
       1513       10/7/2019 Retirement Trust                             Trust Distribution                              3,683.17
       1532       10/7/2019 Matthew Laubert                              Trust Distribution                               471.89
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                     Richard Kronman & Ian Matthew Trustees
   1581    10/7/2019 FBO                                            Trust Distribution            10,100.00
                     Richard Kronman & Maureen Kronman
   1582    10/7/2019 Revocable TRST DTD 2/28/02                     Trust Distribution            20,200.00
   1588    10/7/2019 Robert F Charles Jr                            Trust Distribution             1,540.17
   1601    10/7/2019 Schacter Revoc Trust 2/5/98                    Trust Distribution               505.00
   1388    10/8/2019 Anthony Keats                                  Trust Distribution                52.32
   1391    10/8/2019 Barbara Ashton                                 Trust Distribution                40.40
   1424    10/8/2019 Dan R Chier                                    Trust Distribution                28.28
                     Guardian Ventures Inc C/O Quest
   1460    10/8/2019 International Management Co                    Trust Distribution              186.83
   1484    10/8/2019 John D & Margaret A Rogers Ttee                Trust Distribution              201.98
                     Kronman Matthew & Assoc; Tte Richard
   1508    10/8/2019 Kronman                                        Trust Distribution             5,555.00
   1509    10/8/2019 Kronman Matthew & Associates                   Trust Distribution             9,839.02
   1510    10/8/2019 Kronman Matthew & Associates                   Trust Distribution             3,279.67
   1511    10/8/2019 Kronman Matthew & Associates                   Trust Distribution             5,376.67
   1512    10/8/2019 Kronman Matthew & Associates                   Trust Distribution             4,532.64
   1651    10/8/2019 Zvi M Rhine                                    Trust Distribution             1,010.00
   1396    10/9/2019 Bill Meck & Teresa Meck Jt Ten                 Trust Distribution            10,614.41
                     Brent Allen Fletcher Ttee; Brent Allen
   1398    10/9/2019 Fletcher Rev Trust U/A                         Trust Distribution             3,204.39
   1451    10/9/2019 Etrade Securities                              Trust Distribution            16,507.04
   1548    10/9/2019 Millennium Trust Company                       Trust Distribution             4,646.00
   1593    10/9/2019   Robert Meottle                               Trust Distribution             2,201.34
   1632    10/9/2019   Thomas J Chokel                              Trust Distribution             1,377.26
   1648    10/9/2019   William Meck & Teresa Meck Jt Ten            Trust Distribution               404.00
   1567   10/10/2019   Paul C Kendall                               Trust Distribution               121.20
   1374   10/11/2019 Stephen Goodhue                                Trust Distribution              269.33
   1414   10/15/2019 Charles Schwab Bank Ttee                       Trust Distribution             1,717.00
   1613   10/15/2019 Spm Center LLC                                 Trust Distribution             2,664.56
   1423   10/16/2019 Craig White                                    Trust Distribution                30.30
   1462   10/16/2019 Harold F Schaff                                Trust Distribution               269.33
   1463   10/16/2019 Harold F Schaff & Cheryl A Schaff Ttees        Trust Distribution             1,595.17
   1471   10/16/2019 Interactive Brokers                            Trust Distribution             2,050.34
   1573   10/16/2019 Preston Soechting                              Trust Distribution               101.00
   1590   10/16/2019 Robert Forster                                 Trust Distribution               606.00
   1560   10/17/2019 Nathan Allen                                   Trust Distribution               101.00
   1456   10/18/2019 Greg Tobias                                    Trust Distribution               202.00
   1477   10/18/2019 James R Young                                  Trust Distribution               153.96
                     Carl C Hsu Ttee Dr Carl C Hsu Rev Liv
   1406   10/21/2019 Trust U/A 7/3/96                               Trust Distribution              444.40
   1592   10/21/2019 Robert J Kerr                                  Trust Distribution              161.60
   1405   10/23/2019 Cantor Fitzgerald & Co.                        Trust Distribution              395.15
                     Todd M Townsend Roth Ira COR Clearing
   1638   10/24/2019 Cust                                           Trust Distribution               606.00
   1586   10/25/2019 Robert C Clark                                 Trust Distribution               385.05
   1403   10/28/2019 Calvin Cheng Chien & Karen Kuo Chien           Trust Distribution                84.84
   1637   10/28/2019 Todd Gitlin                                    Trust Distribution             1,016.79
   1376   10/29/2019 Guy Shamir                                     Trust Distribution               856.48
   1430   10/29/2019 David J Cook                                   Trust Distribution               231.09
   1449   10/29/2019 Estate Of Donald P Elliott                     Trust Distribution             1,595.17
   1642   10/30/2019 Vuong Tran                                     Trust Distribution               808.00
   1385    11/1/2019 All In The Behl Family LP A Partnership        Trust Distribution             3,850.44
   1565    11/1/2019 Patrick Lin                                    Trust Distribution             1,010.00
   1631    11/1/2019 Thomas Elliott                                 Trust Distribution             2,395.13
                     Klein Partners, Ltd. ,Lp C/O Kevin R. Klein,
   1505    11/5/2019 Gary C. Klein & Anne M. Klein Partners         Trust Distribution             1,540.17
   1386    11/6/2019 Andrew J Cryer                                 Trust Distribution                80.80
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       1490      11/8/2019 Johnson Family Trust                     Trust Distribution                404.00
       1493     11/13/2019 Joseph D Ryan                            Trust Distribution              3,838.00
       1606     11/13/2019 Seamark Fund Lp                          Trust Distribution              2,713.53
       1607     11/13/2019 Sean S Matsubayashi                      Trust Distribution                 74.74
       1444     11/15/2019 Eli Arriv                                Trust Distribution                726.27
       1540     11/18/2019 Michael Grant                            Trust Distribution                980.49
       1445     11/25/2019 Elizabeth Rosner                         Trust Distribution                 70.96
       1563      12/5/2019 Patricia Duke                            Trust Distribution                 40.40
Wire            12/18/2019 Writser Pier Cleveringa                  Trust Distribution              4,403.60
       1443     12/23/2019 Edwin Baldridge Ttee UA Dtd 10/30/1992   Trust Distribution              2,310.27
                           Mark D Stokes Jr & Diane P Stokes
       1525     12/31/2019 Comm/Prop                                Trust Distribution                37.37

                                                                                         TOTAL    506,761.32


Holding check and anticipated delivery date of check.
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                           Outstanding CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                    Signature Bank
Account Number                                                           0112
Purpose of Account (Operating/Payroll/Personal)                 Escrow
Type of Account (e.g., Checking)                                Checking

 Check      Date of
Number    Transaction                        Payee                          Purpose or Description        Amount
   1067        6/7/2018   BRUCE G KLASS                     Trust Distribution                             9,549.90
   1077        6/7/2018   Goldman Sachs                     Trust Distribution                             8,350.00
   1085        6/7/2018   SEGAL FAMILY TRUST                Trust Distribution                             6,593.91
   1087        6/7/2018   STANLEY M RUMBOUGH JR             Trust Distribution                             6,366.54
   1119        6/7/2018   ARTHUR GERRICK                    Trust Distribution                             4,175.00
   1125        6/7/2018   JAMES SEIBEL                      Trust Distribution                             3,618.39
   1131        6/7/2018   ROBERT H KEELEY & SANDRA D KEELEY Trust
                                                             JT TEN
                                                                  Distribution                             3,183.27
   1156        6/7/2018   Cantor Fitzgerald & Co.           Trust Distribution                             1,633.43
   1157        6/7/2018   ROBERT C CLARK                    Trust Distribution                             1,591.68
   1167        6/7/2018   SSBT TTEE                         Trust Distribution                             1,068.80
   1185        6/7/2018   LOIS B MAY TTEE                   Trust Distribution                               751.50
   1205        6/7/2018   OWEN BENNETT MULLER               Trust Distribution                               417.50
   1209        6/7/2018   JOSHUA CRINKLAW                   Trust Distribution                               417.50
   1214        6/7/2018   JOSHUA LOUIS CAIN                 Trust Distribution                               417.50
   1233        6/7/2018   KIMIKO ANN SNYDER                 Trust Distribution                               208.75
   1240        6/7/2018   MILES POTEAT EGGART               Trust Distribution                               167.00
   1250        6/7/2018   REYHEENA EIDARIUS                 Trust Distribution                               125.25
   1252        6/7/2018   MIKE SALOMON                      Trust Distribution                               109.64
   1261        6/7/2018   AUSTIN RUIZ WATKINS               Trust Distribution                                 83.5
   1362        2/5/2019   Alex Jin                          Trust Distribution                                  835
   1370       6/27/2019   Stanly M Junior 1998 Trust        Trust Distribution                              6366.54
   1375       9/16/2019   Alex Jin                          Trust Distribution                                  202
   1392       9/16/2019   BARBARA JOAN DEGEORGE & M DEGEORGETrust Distribution
                                                                  KELLY JT TEN                                161.6
   1400       9/16/2019   BRUCE G KLASS                     Trust Distribution                              2310.27
   1401       9/16/2019   BUD W BRUTSMAN PLEDGED TO ML LENDER
                                                            Trust Distribution                                 50.5
   1409       9/16/2019   CASEY E FOLKS JR. (DECD) BRYAN FOLKS
                                                            Trust
                                                               (BENE)
                                                                  Distribution                                 90.9
   1410       9/16/2019   CASEY E FOLKS JR. (DECD) DARYL FOLKS
                                                            Trust
                                                               (BENE)
                                                                  Distribution                                 90.9
   1415       9/16/2019   CHERYL WASHINGTON                 Trust Distribution                                 40.4
   1433       9/16/2019   DAVID WESSEL                      Trust Distribution                              4201.24
   1436       9/16/2019   DELTEC SPECIAL SITUATIONS PARTNERSTrust
                                                               LPDistribution                               2677.91
   1441       9/16/2019   ED WETHERBEE                      Trust Distribution                               117.08
   1446       9/16/2019   ELIZABETH ROSNER                  Trust Distribution                                 70.7
   1454       9/16/2019   Goldman Sachs                     Trust Distribution                                 2020
   1470       9/16/2019   HUI-YA HSU                        Trust Distribution                                  202
   1478       9/16/2019   JAMES SEIBEL                      Trust Distribution                               875.35
   1487       9/16/2019   JOHN JAMES DARNELL                Trust Distribution                                31.41
   1494       9/16/2019   Joshua Benson                     Trust Distribution                             6,718.52
   1495       9/16/2019   JOSHUA CRINKLAW                   Trust Distribution                               101.00
   1496       9/16/2019   JOSHUA LOUIS CAIN                 Trust Distribution                               101.00
   1503       9/16/2019   KIMIKO ANN SNYDER                 Trust Distribution                                50.50
   1514       9/16/2019   KYLE EDLUND                       Trust Distribution                               605.07
   1520       9/16/2019   LOIS B MAY TTEE                   Trust Distribution                               181.80
   1523       9/16/2019   MARA ROSNER KEDEM CUST FOR        Trust Distribution                             1,010.00
   1538       9/16/2019   MICHAEL B JOHNSON                 Trust Distribution                             1,999.17
   1542       9/16/2019   MICHAEL R CICERO & WILLIAM M VEAZEY
                                                            Trust Distribution                               110.60
   1545       9/16/2019   MIKE SALOMON                      Trust Distribution                                26.52
   1547       9/16/2019   MILES POTEAT EGGART               Trust Distribution                                 40.4
   1549       9/16/2019   MILWAUKEE DEF COMP BOARD TTEE Trust Distribution                                    242.4
   1550       9/16/2019   MILWAUKEE DEF COMP BOARD TTEE Trust Distribution                                   308.07
   1551       9/16/2019   MILWAUKEE DEF COMP BOARD TTEE Trust Distribution                                  4936.48
   1552       9/16/2019   MILWAUKEE DEF COMP BOARD TTEE Trust Distribution                                      202
   1561       9/16/2019   OWEN BENNETT MULLER               Trust Distribution                                  101
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POST CONFIRMATION

     1569         9/16/2019   PETER SEAMANS                        Trust Distribution                                                     649.96
     1572         9/16/2019   PHTC Inc PFT SHG PLN UAD 12/30/94 John
                                                                   Trust
                                                                     ColeDistribution
                                                                          TTEE                                                              202
     1579         9/16/2019   REYHEENA EIDARIUS                    Trust Distribution                                                       30.3
     1591         9/16/2019   ROBERT H KEELEY & SANDRA D KEELEY    Trust
                                                                     JT TEN
                                                                         Distribution                                                     770.08
     1608         9/16/2019   SEGAL FAMILY TRUST                   Trust Distribution                                                    1595.17
     1614         9/16/2019   SSBT TTEE                            Trust Distribution                                                     258.56
     1628         9/16/2019   The Vanguard Group                   Trust Distribution                                                    7256.83
     1629         9/16/2019   THE VERTICAL TRADING GROUP LLC Trust Distribution                                                            1111
     1633         9/16/2019   THOMAS KENDALL                       Trust Distribution                                                       382


                                                                                                                       TOTAL            98,163.29

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.
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MONTHLY OPERATING REPORT -                                                                          ATTACHMENT NO. 4
POST CONFIRMATION

                                           CHAPTER 11 POST-CONFIRMATION
                                      CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                    TD Bank
Account Number                                                         4123
Purpose of Account (Operating/Payroll/Personal)                 Operating
Type of Account (e.g., Checking)                                Checking

  Check       Date of
 Number     Transaction                        Payee                           Purpose or Description           Amount
EFT             10/2/2019   TD Bank                             Wire Fee                                             25.00
EFT             10/2/2019   TD Bank                             Wire Fee                                             25.00
EFT             10/2/2019   Patrick O'Brien                     Trust Administration                             10,000.00
EFT             10/2/2019   Ron Chez, Inc.                      Trust Administration                             10,000.00
   995072      10/10/2019   Scott Jarus                         Trust Administration                             10,000.00
   995073      10/25/2019   American Arbitrations Association   Tax Accounting                                   20,000.00
     1151      10/28/2019   Texas Comptroller                   Legal Fees                                          538.00
   995076      10/28/2019   Solomon & Cramer                    Trust Administration                             33,533.52
     1153      10/29/2019   Oregon Department of Revenue        Litigation Support                                  150.00
   995075      10/29/2019   Hemming Morse LLP                   Trust Administration                             25,644.75
EFT            10/31/2020   TD Bank                             Bank Fee                                             30.00
   995074       11/4/2019   Dentons                             Litigation Support                               75,000.00
   995077       11/8/2019   Dentons                             Legal Fees                                       26,095.86
     1154      12/23/2019   UST                                 Legal Fees                                          325.00
     1155      12/23/2019   UST                                 Litigation Support                               14,595.98
   995078      12/23/2019   American Arbitrations Association   Bank Fee                                         40,000.00
EFT            12/24/2019   TD Bank                             Quarterly Fee                                        25.00
EFT            12/24/2019   Dentons                             Quarterly Fee                                    16,715.74
EFT            12/31/2019   TD Bank                             Bank Fee                                             30.00


                                                                                                        TOTAL   282,733.85
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POST CONFIRMATION

                                           CHAPTER 11 POST-CONFIRMATION
                               Outstanding CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                                TD Bank
Account Number                                                                      4123
Purpose of Account (Operating/Payroll/Personal)                             Operating
Type of Account (e.g., Checking)                                            Checking

  Check        Date of
 Number      Transaction                         Payee                                     Purpose or Description                       Amount




                                                                                                                       TOTAL                0.00

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.
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POST CONFIRMATION

                                   CHAPTER 11 POST-CONFIRMATION
                              CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                      TD Bank
Account Number                                           4123
Purpose of Account (Operating/Payroll/Personal)   Operating
Type of Account (e.g., Checking)                  Checking

 Check      Date of
Number    Transaction               Payee                       Purpose or Description           Amount




                                                                                         TOTAL       0.00
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                                                                                      CHAPTER 11 POST-CONFIRMATION
                                                                                           INTEREST RECEIVED


                  Account          Account        Account         Account          Account       Account        Account           Account            Account         Account         Account         Account         Account
                    #1               #2              #3              #4               #5            #6             #7               #8                 #9              #10             #11             #12             #13
                                                Signature       Signature        Signature     Signature      Signature
Name of Bank: Signature Bank Signature Bank Bank                Bank             Bank          Bank           Bank             TD Bank             TD Bank         TD Bank         TD Bank         TD Bank         TD Bank
Account
Number:             0112             0120              0139          7032             7040          7059           7067              4123                3018            9869            9893            4074            4058
Purpose of
Account
(Operating/Pa                  Excess Cash      Operating       Class 1                      Class 3          Class 4                              Operating       Class 1                         Class 3         Class 4
yroll/Tax)    Disbursment      Reserve          Reserve         Reserve          Tax Reserve Reserve          Reserve          Disbursement        Reserve         Reserve         Tax Reserve     Reserve         Reserve
Type of
Account (e.g.
checking)     Checking         Checking         Checking        Checking         Checking      Checking       Checking         Checking            Money Market Money Market Money Market Money Market Money Market
Month
10/31/2018                                26.93      1,718.04        358.51            84.46       2,158.31        234.60
11/30/2018                                26.19         52.55         11.57                           69.66                                              2774.02          610.05           143.7        3672.77          399.19
12/31/2018                                27.11                                                                                                          2844.07          653.16          153.85          3932.3          427.4
                          0.00            80.23      1,770.59        370.08            84.46       2,227.97        234.60                   0.00        5,618.09        1,263.21          297.55        7,605.07         826.59    20,378.44

1/31/2019                                 27.13                                                                                                          2965.37          715.47          168.53        4307.47           468.18
2/28/2019                                 24.53                                                                                                          2575.69          651.25           153.4        3920.84           426.16
3/31/2019                                 27.18                                                                                                           2754.3          722.25          170.12        4348.26           472.61
                            0.00          78.84          0.00             0.00          0.00           0.00             0.00                0.00        8,295.36        2,088.97          492.05       12,576.57        1,366.95   24,898.74

4/30/2019                                 26.33                                                                                                          2538.51          700.25          164.94        4215.85           458.22
5/31/2019                                 27.23                                                                                                          2490.69          724.90          170.75        4364.26           474.35
6/30/2019                                 26.38                                                                                                          2253.78          702.83          165.55        4231.37           459.91
                            0.00          79.94          0.00             0.00          0.00           0.00             0.00                0.00        7,282.98        2,127.98          501.24       12,811.48        1,392.48   24,196.10

7/31/2019                                  27.28                                                                                                         1954.78          727.57          171.38        4380.32            476.1
8/31/2019                               1,589.36                                                                                                         1770.93          664.80          156.59        4002.42           435.02
9/30/2019                                 850.14                                                                                                         1490.97          626.32          147.53        3770.75           409.84
                            0.00        2,466.78         0.00             0.00          0.00           0.00             0.00                0.00        5,216.68        2,018.69          475.50       12,153.49        1,320.96   23,652.10

10/31/2019                               239.67                                                                                                          1187.35          570.49          134.38        3434.62           373.31
11/30/2019                               237.73                                                                                                           897.09          499.37          117.63        3006.44           326.77
12/31/2019                               245.88                                                                                                           828.75          483.34          113.85        2909.93           316.28
                            0.00         723.28          0.00             0.00          0.00           0.00             0.00                0.00        2,913.19        1,553.20          365.86        9,350.99        1,016.36   15,922.88
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                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017



             ICPW NEVADA TRUST                       9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:         0112          85

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      0112      MONOGRAM CHECKING                                   652,856.18                      170,571.03

              RELATIONSHIP              TOTAL                                                       170,571.03
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                                                                                       565 FIFTH AVENUE
                                                                                       NEW YORK, NY 10017



             ICPW NEVADA TRUST                             9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                                      See Back for Important Information


                                                                              Primary Account:       0112          85


MONOGRAM CHECKING                       0112




Summary

 Previous Balance as of October      01, 2019                                                               652,856.18
       86 Debits                                                                                            482,285.15
 Ending Balance as of   October      31, 2019                                                               170,571.03


Withdrawals and Other Debits
 Oct 03 OUTGOING WIRE                                                                                       236,316.08
         REF# 20191003B6B7261F002540
         TO:   TD AMERITRADE INC                  ABA:   104000016
         BANK: FIRST NATIONAL BANK OF OMAHA     ACCT#
         OBI: FOR FURTHER CREDIT TD AMERITRADE CLEARING REORGANIZATI
         OBI: ON SUZANNE BRODD ACCOUNT NO
         OBI:

Checks by Serial Number
 Oct 11       1374                   269.33     Oct   02           1420               10,743.47
 Oct 29       1376 *                 856.48     Oct   01           1421                4,852.81
 Oct 01       1380 *                  50.50     Oct   16           1423   *               30.30
 Oct 03       1381                   161.60     Oct   08           1424                   28.28
 Oct 04       1383 *                 101.00     Oct   01           1429   *              153.96
 Oct 01       1387 *                 642.22     Oct   29           1430                  231.09
 Oct 08       1388                    52.32     Oct   01           1435   *              202.00
 Oct 04       1389                 1,010.00     Oct   29           1449   *            1,595.17
 Oct 08       1391 *                  40.40     Oct   09           1451   *           16,507.04
 Oct 09       1396 *              10,614.41     Oct   18           1456   *              202.00
 Oct 09       1398 *               3,204.39     Oct   08           1460   *              186.83
 Oct 28       1403 *                  84.84     Oct   16           1462   *              269.33
 Oct 23       1405 *                 395.15     Oct   16           1463                1,595.17
 Oct 21       1406                   444.40     Oct   16           1471   *            2,050.34
 Oct 03       1408 *                  60.60     Oct   18           1477   *              153.96
 Oct 15       1414 *               1,717.00     Oct   08           1484   *              201.98
 Oct 02       1419 *                 115.46     Oct   01           1485                  606.00
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                                                                              PRIVATE CLIENT GROUP 161
                                                                              565 FIFTH AVENUE
                                                                              NEW YORK, NY 10017



            ICPW NEVADA TRUST                         9-161
            MATTHEW PLISKIN TRUSTEE
            DISBURSEMENT ACCOUNT
            3902 W HENDERSON BLVD, SUITE 208-336
            TAMPA FL 33629                                              See Back for Important Information


                                                                     Primary Account:       0112         85

Date     Serial Nbr              Amount      Date       Serial Nbr              Amount
Oct 01       1489 *            4,254.42      Oct 02         1578              2,052.32
Oct 01       1492 *            3,787.68      Oct 07         1581 *           10,100.00
Oct 07       1497 *              456.96      Oct 07         1582             20,200.00
Oct 07       1498                 63.77      Oct 25         1586 *              385.05
Oct 08       1508 *            5,555.00      Oct 07         1588 *            1,540.17
Oct 08       1509              9,839.02      Oct 16         1590 *              606.00
Oct 08       1510              3,279.67      Oct 21         1592 *              161.60
Oct 08       1511              5,376.67      Oct 09         1593              2,201.34
Oct 08       1512              4,532.64      Oct 04         1595 *            2,254.14
Oct 07       1513              3,683.17      Oct 04         1596              2,323.00
Oct 01       1515 *               40.40      Oct 07         1601 *              505.00
Oct 04       1516              2,080.60      Oct 01         1605 *            1,351.16
Oct 01       1528 *            1,070.60      Oct 15         1613 *            2,664.56
Oct 01       1531 *              511.42      Oct 01         1617 *            9,716.20
Oct 07       1532                471.89      Oct 02         1621 *            1,223.09
Oct 01       1535 *              505.00      Oct 01         1627 *           40,400.00
Oct 01       1541 *            3,361.66      Oct 09         1632 *            1,377.26
Oct 01       1543 *              121.20      Oct 28         1637 *            1,016.79
Oct 09       1548 *            4,646.00      Oct 24         1638                606.00
Oct 17       1560 *              101.00      Oct 03         1639              7,593.40
Oct 02       1562 *            4,040.00      Oct 30         1642 *              808.00
Oct 10       1567 *              121.20      Oct 09         1648 *              404.00
Oct 16       1573 *              101.00      Oct 01         1649              1,018.85
Oct 04       1575 *           15,378.08      Oct 02         1650                632.26
Oct 03       1576                505.00      Oct 08         1651              1,010.00
Oct 03       1577                505.00

                * Indicates break in check sequence
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                                                                        565 FIFTH AVENUE
                                                                        NEW YORK, NY 10017



             ICPW NEVADA TRUST                      9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                       See Back for Important Information


                                                               Primary Account:       0112         85


Daily Balances
 Sep 30           652,856.18                        Oct   16    177,612.56
 Oct 01           580,210.10                        Oct   17    177,511.56
 Oct 02           561,403.50                        Oct   18    177,155.60
 Oct 03           316,261.82                        Oct   21    176,549.60
 Oct 04           293,115.00                        Oct   23    176,154.45
 Oct 07           256,094.04                        Oct   24    175,548.45
 Oct 08           225,991.23                        Oct   25    175,163.40
 Oct 09           187,036.79                        Oct   28    174,061.77
 Oct 10           186,915.59                        Oct   29    171,379.03
 Oct 11           186,646.26                        Oct   30    170,571.03
 Oct 15           182,264.70

Rates for this statement period - Overdraft
Oct 31, 2019   14.500000 %
Oct 01, 2019   14.750000 %
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                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017



             ICPW NEVADA TRUST                       9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:         0112          12

              EFFECTIVE DECEMBER 27, 2019, WE HAVE REVISED SIGNATURE BANK'S BUSINESS BANK
              ACCOUNT AGREEMENTS AND DISCLOSURES BOOKLET, BUSINESS ACCOUNT INTERNET
              BANKING TERMS AND CONDITIONS AND BUSINESS ACCOUNT FEE SCHEDULE. PRINTED,
              UPDATED BOOKLETS AND TERMS AND CONDITIONS WILL BE AVAILABLE AT OUR FINANCIAL
              CENTERS OR AT WWW.SIGNATURENY.COM IN THE 'ABOUT US' SECTION. THE BUSINESS
              ACCOUNT FEE SCHEDULE CAN BE REQUESTED AT OUR FINANCIAL CENTERS OR BY
              CONTACTING YOUR PRIVATE CLIENT GROUP.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      0112      MONOGRAM CHECKING                                   170,571.03                      152,886.50

              RELATIONSHIP              TOTAL                                                       152,886.50
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                                                                                        565 FIFTH AVENUE
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             ICPW NEVADA TRUST                              9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                                       See Back for Important Information


                                                                               Primary Account:       0112          12


MONOGRAM CHECKING                       0112




Summary

 Previous Balance as of November     01, 2019                                                                170,571.03
       12 Debits                                                                                              17,684.53
 Ending Balance as of   November     30, 2019                                                                152,886.50


Checks by Serial Number
 Nov 01       1385                 3,850.44      Nov   05           1505   *            1,540.17
 Nov 06       1386                    80.80      Nov   01           1565   *            1,010.00
 Nov 15       1444 *                 726.27      Nov   13           1606   *            2,713.53
 Nov 25       1445                    70.96      Nov   13           1607                   74.74
 Nov 08       1490 *                 404.00      Nov   01           1631   *            2,395.13
 Nov 13       1493 *               3,838.00      Nov   18         801540   *              980.49

                    * Indicates break in check sequence

Daily Balances
 Oct 31             170,571.03                              Nov   13            154,664.22
 Nov 01             163,315.46                              Nov   15            153,937.95
 Nov 05             161,775.29                              Nov   18            152,957.46
 Nov 06             161,694.49                              Nov   25            152,886.50
 Nov 08             161,290.49
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                                                                       565 FIFTH AVENUE
                                                                       NEW YORK, NY 10017



             ICPW NEVADA TRUST                      9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                      See Back for Important Information


                                                              Primary Account:       0112         12


Rates for this statement period - Overdraft
Nov 01, 2019   14.500000 %
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                                                                             NEW YORK, NY 10017



             ICPW NEVADA TRUST                       9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:         0112           3

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      0112      MONOGRAM CHECKING                                   152,886.50                      146,094.86

              RELATIONSHIP              TOTAL                                                       146,094.86
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                                                                                        Statement Period
                                                                                     From December 01, 2019
                                                                                     To   December 31, 2019
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                                                                                     PRIVATE CLIENT GROUP 161
                                                                                     565 FIFTH AVENUE
                                                                                     NEW YORK, NY 10017



             ICPW NEVADA TRUST                            9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                                    See Back for Important Information


                                                                            Primary Account:       0112           3


MONOGRAM CHECKING                       0112




Summary

 Previous Balance as of December     01, 2019                                                             152,886.50
        4 Debits                                                                                            6,791.64
 Ending Balance as of   December     31, 2019                                                             146,094.86


Withdrawals and Other Debits
 Dec 18 OUTGOING WIRE                                                                                       4,403.60
         REF# 20191218B6B7261F000461
         TO:   Charles Schwab Co Inc              ABA:   021000089
         BANK: CITIBANK, N.A.                   ACCT#
         OBI: For Further Credit To Writser Pier Cleveringa Account
         OBI: number
         OBI:

Checks by Serial Number
 Dec 23       1443                 2,310.27      Dec 05            1563 *                 40.40
 Dec 31       1525 *                  37.37

                    * Indicates break in check sequence

Daily Balances
 Nov 30             152,886.50                            Dec 23             146,132.23
 Dec 05             152,846.10                            Dec 31             146,094.86
 Dec 18             148,442.50
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                                                                       PRIVATE CLIENT GROUP 161
                                                                       565 FIFTH AVENUE
                                                                       NEW YORK, NY 10017



             ICPW NEVADA TRUST                      9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                      See Back for Important Information


                                                              Primary Account:       0112         3


Rates for this statement period - Overdraft
Dec 01, 2019   14.500000 %
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                                                                             To   October   31, 2019
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                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017



             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:         0120           0

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      0120      MONOGRAM INSURED MMA                                262,590.28                      262,829.95

              RELATIONSHIP             TOTAL                                                        262,829.95
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                                                                             To   October   31, 2019
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                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017



             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:       0120            0


MONOGRAM INSURED MMA                 0120


Summary

 Previous Balance as of October   01, 2019                                                        262,590.28
        1 Credits                                                                                     239.67
 Ending Balance as of   October   31, 2019                                                        262,829.95


Deposits and Other Credits
 Oct 31 Interest Paid                                                                                  239.67

Daily Balances
 Sep 30           262,590.28                         Oct 31           262,829.95

*======================================= Interest Summary    ===========================================*
* Year-To-Date Interest               2,865.23                                                          *
* Interest Paid This Period             239.67           Annual Percentage Yield Earned      1.08 %     *
* Avg. Balance this Period          262,590.28           Days in Period                      31         *
*=======================================================================================================*
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                                                                                Statement Period
                                                                             From November 01, 2019
                                                                             To   November 30, 2019
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                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017



             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:         0120           0

              EFFECTIVE DECEMBER 27, 2019, WE HAVE REVISED SIGNATURE BANK'S BUSINESS BANK
              ACCOUNT AGREEMENTS AND DISCLOSURES BOOKLET, BUSINESS ACCOUNT INTERNET
              BANKING TERMS AND CONDITIONS AND BUSINESS ACCOUNT FEE SCHEDULE. PRINTED,
              UPDATED BOOKLETS AND TERMS AND CONDITIONS WILL BE AVAILABLE AT OUR FINANCIAL
              CENTERS OR AT WWW.SIGNATURENY.COM IN THE 'ABOUT US' SECTION. THE BUSINESS
              ACCOUNT FEE SCHEDULE CAN BE REQUESTED AT OUR FINANCIAL CENTERS OR BY
              CONTACTING YOUR PRIVATE CLIENT GROUP.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      0120      MONOGRAM INSURED MMA                                262,829.95                      263,067.68

              RELATIONSHIP             TOTAL                                                        263,067.68
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                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017



             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:       0120           0


MONOGRAM INSURED MMA                  0120


Summary

 Previous Balance as of November   01, 2019                                                       262,829.95
        1 Credits                                                                                     237.73
 Ending Balance as of   November   30, 2019                                                       263,067.68


Deposits and Other Credits
 Nov 29 Interest Paid                                                                                 237.73

Daily Balances
 Oct 31           262,829.95                         Nov 29           263,067.68

*======================================= Interest Summary    ===========================================*
* Year-To-Date Interest               3,102.96                                                          *
* Interest Paid This Period             237.73           Annual Percentage Yield Earned      1.11 %     *
* Avg. Balance this Period          262,829.95           Days in Period                      30         *
*=======================================================================================================*
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                                                                                Statement Period
                                                                             From December 01, 2019
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                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017



             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:         0120           0

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      0120      MONOGRAM INSURED MMA                                263,067.68                      263,313.56

              RELATIONSHIP             TOTAL                                                        263,313.56
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                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017



             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:       0120           0


MONOGRAM INSURED MMA                  0120


Summary

 Previous Balance as of December   01, 2019                                                       263,067.68
        1 Credits                                                                                     245.88
 Ending Balance as of   December   31, 2019                                                       263,313.56


Deposits and Other Credits
 Dec 31 Interest Paid                                                                                 245.88

Daily Balances
 Nov 30           263,067.68                         Dec 31           263,313.56

*======================================= Interest Summary    ===========================================*
* Year-To-Date Interest               3,348.84                                                          *
* Interest Paid This Period             245.88           Annual Percentage Yield Earned      1.11 %     *
* Avg. Balance this Period          263,067.68           Days in Period                      31         *
*=======================================================================================================*
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                                                             7       STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                           Page:                                      1 of 3
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:        Oct 01 2019-Oct 31 2019
    OPERATING ACCOUNT                                                Cust Ref #:                       3018
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                          3018
    TAMPA FL 33629




TD now accepts Real Time Payments!
We're pleased to announce that TD will soon accept Real Time Payments (RTPs), which means you can receive certain
electronic payments sent through RTP almost immediately. This is good news for consumers, businesses, and government
agencies who use RTPs. As a TD Customer, you are automatically enrolled. Please be advised that you may not send or receive
RTPs on behalf of a person who is not a resident of, or otherwise residing in, the United States. Please visit tdbank.com/RTP to
learn more.

Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                Account #            3018
MATTHEW A PLISKIN TRUSTEE
OPERATING ACCOUNT


ACCOUNT SUMMARY
Beginning Balance                       923,933.23                          Average Collected Balance              813,775.48
Deposits                                    992.56                          Interest Earned This Period              1,187.35
Other Credits                             1,187.35                          Interest Paid Year-to-Date              21,982.37
                                                                            Annual Percentage Yield Earned             1.73%
Electronic Payments                     210,294.13                          Days in Period                                 31
Ending Balance                          715,819.01




DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE       DESCRIPTION                                                                                        AMOUNT
10/23              DEPOSIT                                                                                               992.56
                                                                                              Subtotal:                  992.56
Other Credits
POSTING DATE       DESCRIPTION                                                                                        AMOUNT
10/31              INTEREST PAID                                                                                     1,187.35
                                                                                              Subtotal:              1,187.35
Electronic Payments
POSTING DATE       DESCRIPTION                                                                                        AMOUNT
10/02              eTransfer Debit, Online Xfer                                                                     30,000.00
                      Transfer to CK        4123
10/18              eTransfer Debit, Online Xfer                                                                    180,294.13
                      Transfer to CK        4123

                                                                                              Subtotal:            210,294.13




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    How to Balance your Account                                                                                                               Page:                                   2 of 3

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       715,819.01
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                 STATEMENT OF ACCOUNT


   ICPW LIQUIDATION TRUST
   MATTHEW A PLISKIN TRUSTEE                     Page:                                  3 of 3
   OPERATING ACCOUNT                             Statement Period:    Oct 01 2019-Oct 31 2019
                                                 Cust Ref #:                   3018
                                                 Primary Account #:                      3018




DAILY BALANCE SUMMARY
DATE                             BALANCE               DATE                                 BALANCE
09/30                          923,933.23              10/23                             714,631.66
10/02                          893,933.23              10/31                             715,819.01
10/18                          713,639.10




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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                                                     7     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                                  Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                               Statement Period:    Nov 01 2019-Nov 30 2019
   OPERATING ACCOUNT                                       Cust Ref #:                   3018
   3609 HENDERSON BLVD STE 208                             Primary Account #:                      3018
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                  Account #            3018
MATTHEW A PLISKIN TRUSTEE
OPERATING ACCOUNT


ACCOUNT SUMMARY
Beginning Balance                     715,819.01                 Average Collected Balance          703,912.12
Other Credits                             897.09                 Interest Earned This Period            897.09
                                                                 Interest Paid Year-to-Date          22,879.46
Electronic Payments                    14,920.98                 Annual Percentage Yield Earned         1.56%
Ending Balance                        701,795.12                 Days in Period                             30




DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                           AMOUNT
11/29            INTEREST PAID                                                                             897.09
                                                                                 Subtotal:                 897.09
Electronic Payments
POSTING DATE     DESCRIPTION                                                                           AMOUNT
11/07            eTransfer Debit, Online Xfer                                                        14,920.98
                    Transfer to CK         4123

                                                                                 Subtotal:           14,920.98


DAILY BALANCE SUMMARY
DATE                                    BALANCE                  DATE                                 BALANCE
10/31                                 715,819.01                 11/29                             701,795.12
11/07                                 700,898.03




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    Case 1:17-bk-12408-MB                                 Doc 627 Filed 02/20/20 Entered 02/20/20 08:59:30                                                                 Desc
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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       701,795.12
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                     7     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                                  Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                               Statement Period:    Dec 01 2019-Dec 31 2019
   OPERATING ACCOUNT                                       Cust Ref #:                   3018
   3609 HENDERSON BLVD STE 208                             Primary Account #:                      3018
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                  Account #            3018
MATTHEW A PLISKIN TRUSTEE
OPERATING ACCOUNT


ACCOUNT SUMMARY
Beginning Balance                     701,795.12                 Average Collected Balance          672,985.53
Other Credits                             828.75                 Interest Earned This Period            828.75
                                                                 Interest Paid Year-to-Date          23,708.21
Electronic Payments                    56,740.74                 Annual Percentage Yield Earned         1.46%
Ending Balance                        645,883.13                 Days in Period                             31




DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                           AMOUNT
12/31            INTEREST PAID                                                                             828.75
                                                                                 Subtotal:                 828.75
Electronic Payments
POSTING DATE     DESCRIPTION                                                                           AMOUNT
12/13            eTransfer Debit, Online Xfer                                                        40,000.00
                    Transfer to CK         4123
12/24            eTransfer Debit, Online Xfer                                                        16,740.74
                    Transfer to CK         4123

                                                                                 Subtotal:           56,740.74


DAILY BALANCE SUMMARY
DATE                                    BALANCE                  DATE                                 BALANCE
11/30                                 701,795.12                 12/24                             645,054.38
12/13                                 661,795.12                 12/31                             645,883.13




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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       645,883.13
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                             7       STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                           Page:                                      1 of 2
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:        Oct 01 2019-Oct 31 2019
    CLASS 4 RESERVE                                                  Cust Ref #:                       4058
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                          4058
    TAMPA FL 33629




TD now accepts Real Time Payments!
We're pleased to announce that TD will soon accept Real Time Payments (RTPs), which means you can receive certain
electronic payments sent through RTP almost immediately. This is good news for consumers, businesses, and government
agencies who use RTPs. As a TD Customer, you are automatically enrolled. Please be advised that you may not send or receive
RTPs on behalf of a person who is not a resident of, or otherwise residing in, the United States. Please visit tdbank.com/RTP to
learn more.

Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                Account #            4058
MATTHEW A PLISKIN TRUSTEE
CLASS 4 RESERVE


ACCOUNT SUMMARY
Beginning Balance                     256,124.06                            Average Collected Balance              256,136.10
Other Credits                             373.31                            Interest Earned This Period                373.31
                                                                            Interest Paid Year-to-Date               4,453.70
Ending Balance                        256,497.37                            Annual Percentage Yield Earned             1.73%
                                                                            Days in Period                                 31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                        AMOUNT
10/31              INTEREST PAID                                                                                         373.31
                                                                                              Subtotal:                  373.31


DAILY BALANCE SUMMARY
DATE                                    BALANCE                             DATE                                     BALANCE
09/30                                 256,124.06                            10/31                                 256,497.37




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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       256,497.37
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Nov 01 2019-Nov 30 2019
   CLASS 4 RESERVE                                   Cust Ref #:                   4058
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      4058
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                            Account #            4058
MATTHEW A PLISKIN TRUSTEE
CLASS 4 RESERVE


ACCOUNT SUMMARY
Beginning Balance               256,497.37                 Average Collected Balance          256,508.26
Other Credits                       326.77                 Interest Earned This Period            326.77
                                                           Interest Paid Year-to-Date           4,780.47
Ending Balance                  256,824.14                 Annual Percentage Yield Earned         1.56%
                                                           Days in Period                             30



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
11/29            INTEREST PAID                                                                       326.77
                                                                           Subtotal:                 326.77


DAILY BALANCE SUMMARY
DATE                              BALANCE                  DATE                                 BALANCE
10/31                           256,497.37                 11/29                             256,824.14




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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       256,824.14
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                               7     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Dec 01 2019-Dec 31 2019
   CLASS 4 RESERVE                                   Cust Ref #:                   4058
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      4058
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                            Account #            4058
MATTHEW A PLISKIN TRUSTEE
CLASS 4 RESERVE


ACCOUNT SUMMARY
Beginning Balance               256,824.14                 Average Collected Balance          256,834.34
Other Credits                       316.28                 Interest Earned This Period            316.28
                                                           Interest Paid Year-to-Date           5,096.75
Ending Balance                  257,140.42                 Annual Percentage Yield Earned         1.46%
                                                           Days in Period                             31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
12/31            INTEREST PAID                                                                       316.28
                                                                           Subtotal:                 316.28


DAILY BALANCE SUMMARY
DATE                              BALANCE                  DATE                                 BALANCE
11/30                           256,824.14                 12/31                             257,140.42




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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       257,140.42
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                             7       STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                           Page:                                      1 of 2
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:        Oct 01 2019-Oct 31 2019
    CLASS 3 RESERVE                                                  Cust Ref #:                       4074
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                          4074
    TAMPA FL 33629




TD now accepts Real Time Payments!
We're pleased to announce that TD will soon accept Real Time Payments (RTPs), which means you can receive certain
electronic payments sent through RTP almost immediately. This is good news for consumers, businesses, and government
agencies who use RTPs. As a TD Customer, you are automatically enrolled. Please be advised that you may not send or receive
RTPs on behalf of a person who is not a resident of, or otherwise residing in, the United States. Please visit tdbank.com/RTP to
learn more.

Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                Account #            4074
MATTHEW A PLISKIN TRUSTEE
CLASS 3 RESERVE


ACCOUNT SUMMARY
Beginning Balance                   2,356,458.59                            Average Collected Balance      2,356,569.38
Other Credits                           3,434.62                            Interest Earned This Period        3,434.62
                                                                            Interest Paid Year-to-Date        40,976.16
Ending Balance                      2,359,893.21                            Annual Percentage Yield Earned       1.73%
                                                                            Days in Period                           31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                        AMOUNT
10/31              INTEREST PAID                                                                                     3,434.62
                                                                                              Subtotal:              3,434.62


DAILY BALANCE SUMMARY
DATE                                    BALANCE                             DATE                                     BALANCE
09/30                               2,356,458.59                            10/31                                2,359,893.21




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                     2,359,893.21
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                               7     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Nov 01 2019-Nov 30 2019
   CLASS 3 RESERVE                                   Cust Ref #:                   4074
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      4074
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                            Account #           4074
MATTHEW A PLISKIN TRUSTEE
CLASS 3 RESERVE


ACCOUNT SUMMARY
Beginning Balance              2,359,893.21                Average Collected Balance      2,359,993.42
Other Credits                      3,006.44                Interest Earned This Period        3,006.44
                                                           Interest Paid Year-to-Date        43,982.60
Ending Balance                 2,362,899.65                Annual Percentage Yield Earned       1.56%
                                                           Days in Period                           30



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                      AMOUNT
11/29            INTEREST PAID                                                                   3,006.44
                                                                           Subtotal:             3,006.44


DAILY BALANCE SUMMARY
DATE                               BALANCE                 DATE                                  BALANCE
10/31                          2,359,893.21                11/29                             2,362,899.65




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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                     2,362,899.65
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
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    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                               7     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Dec 01 2019-Dec 31 2019
   CLASS 3 RESERVE                                   Cust Ref #:                   4074
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      4074
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                            Account #           4074
MATTHEW A PLISKIN TRUSTEE
CLASS 3 RESERVE


ACCOUNT SUMMARY
Beginning Balance              2,362,899.65                Average Collected Balance      2,362,993.51
Other Credits                      2,909.93                Interest Earned This Period        2,909.93
                                                           Interest Paid Year-to-Date        46,892.53
Ending Balance                 2,365,809.58                Annual Percentage Yield Earned       1.46%
                                                           Days in Period                           31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                      AMOUNT
12/31            INTEREST PAID                                                                   2,909.93
                                                                           Subtotal:             2,909.93


DAILY BALANCE SUMMARY
DATE                               BALANCE                 DATE                                  BALANCE
11/30                          2,362,899.65                12/31                             2,365,809.58




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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                     2,365,809.58
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                                    7          STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                                     Page:                                             1 of 3
    MATTHEW A PLISKIN TRUSTEE                                                  Statement Period:               Oct 01 2019-Oct 31 2019
    GENERAL AND DISBURSEMENTS                                                  Cust Ref #:                              4123
    3609 HENDERSON BLVD STE 208                                                Primary Account #:                                 4123
    TAMPA FL 33629




TD now accepts Real Time Payments!
We're pleased to announce that TD will soon accept Real Time Payments (RTPs), which means you can receive certain
electronic payments sent through RTP almost immediately. This is good news for consumers, businesses, and government
agencies who use RTPs. As a TD Customer, you are automatically enrolled. Please be advised that you may not send or receive
RTPs on behalf of a person who is not a resident of, or otherwise residing in, the United States. Please visit tdbank.com/RTP to
learn more.

TD Business Premier Checking
ICPW LIQUIDATIONTRUST                                                                                                   Account #                   4123
MATTHEW A PLISKIN TRUSTEE


ACCOUNT SUMMARY
Beginning Balance                      32,012.25                                        Average Collected Balance                         104,558.94
Electronic Deposits                   210,294.13                                        Interest Earned This Period                             0.00
                                                                                        Interest Paid Year-to-Date                              0.00
Checks Paid                               688.00                                        Annual Percentage Yield Earned                        0.00%
Electronic Payments                    89,178.27                                        Days in Period                                            31
Other Withdrawals                      20,050.00
Service Charges                            30.00
Ending Balance                        132,360.11



DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE       DESCRIPTION                                                                                                                    AMOUNT
10/02              eTransfer Credit, Online Xfer                                                                                            30,000.00
                      Transfer from MMKT              3018
10/18              eTransfer Credit, Online Xfer                                                                                          180,294.13
                      Transfer from MMKT              3018

                                                                                                               Subtotal:                  210,294.13
Checks Paid        No. Checks: 2     *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE             SERIAL NO.                   AMOUNT
10/28            1151                           538.00
10/29            1153*                          150.00
                                                                                                               Subtotal:                          688.00




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    How to Balance your Account                                                                                                               Page:                                   2 of 3

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       132,360.11
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
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    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
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    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                          STATEMENT OF ACCOUNT


   ICPW LIQUIDATION TRUST
   MATTHEW A PLISKIN TRUSTEE                              Page:                                  3 of 3
                                                          Statement Period:    Oct 01 2019-Oct 31 2019
                                                          Cust Ref #:                   4123
                                                          Primary Account #:                      4123




DAILY ACCOUNT ACTIVITY
Electronic Payments
POSTING DATE      DESCRIPTION                                                                         AMOUNT
10/10             TDBANK BILL PAY CHECK, SCOTT JARUS                                                10,000.00
                    CHECK# 995072
10/25             TDBANK BILL PAY CHECK,                                                            20,000.00
                    AMERICAN ARBITRATION ASSOCIATION
                    CHECK# 995073
10/28             TDBANK BILL PAY CHECK,                                                            33,533.52
                    SOLOMON & CRAMER LLP
                    CHECK# 995076
10/29             TDBANK BILL PAY CHECK, HEMMING MORSE LLP                                          25,644.75
                    CHECK# 995075

                                                                               Subtotal:            89,178.27
Other Withdrawals
POSTING DATE      DESCRIPTION                                                                         AMOUNT
10/02             WIRE   TRANSFER OUTGOING, Patrick O'brien                                         10,000.00
10/02             WIRE   TRANSFER OUTGOING, Trust Services                                          10,000.00
10/02             WIRE   TRANSFER FEE                                                                   25.00
10/02             WIRE   TRANSFER FEE                                                                   25.00
                                                                               Subtotal:            20,050.00
Service Charges
POSTING DATE      DESCRIPTION                                                                         AMOUNT
10/31             MAINTENANCE FEE                                                                         30.00
                                                                               Subtotal:                  30.00


DAILY BALANCE SUMMARY
DATE                                BALANCE                     DATE                                 BALANCE
09/30                             32,012.25                     10/25                             192,256.38
10/02                             41,962.25                     10/28                             158,184.86
10/10                             31,962.25                     10/29                             132,390.11
10/18                            212,256.38                     10/31                             132,360.11




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                                                        7   STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                                   Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                                Statement Period:    Nov 01 2019-Nov 30 2019
   GENERAL AND DISBURSEMENTS                                Cust Ref #:                   4123
   3609 HENDERSON BLVD STE 208                              Primary Account #:                      4123
   TAMPA FL 33629




TD Business Premier Checking
ICPW LIQUIDATIONTRUST                                                                   Account #           4123
MATTHEW A PLISKIN TRUSTEE


ACCOUNT SUMMARY
Beginning Balance                   132,360.11                    Average Collected Balance           56,790.06
Electronic Deposits                  14,920.98                    Interest Earned This Period              0.00
                                                                  Interest Paid Year-to-Date               0.00
Electronic Payments                 101,095.86                    Annual Percentage Yield Earned         0.00%
Ending Balance                       46,185.23                    Days in Period                             30




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                            AMOUNT
11/07            eTransfer Credit, Online Xfer                                                        14,920.98
                      Transfer from MMKT         3018

                                                                                  Subtotal:           14,920.98
Electronic Payments
POSTING DATE     DESCRIPTION                                                                            AMOUNT
11/04            TDBANK BILL PAY CHECK, DENTONS LLP                                                   75,000.00
                      CHECK# 995074
11/08            TDBANK BILL PAY CHECK, DENTONS LLP                                                   26,095.86
                      CHECK# 995077

                                                                                  Subtotal:          101,095.86


DAILY BALANCE SUMMARY
DATE                                  BALANCE                     DATE                                 BALANCE
10/31                               132,360.11                    11/07                               72,281.09
11/04                                57,360.11                    11/08                               46,185.23




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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         46,185.23
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                                  7          STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                                                    Page:                                           1 of 3
   MATTHEW A PLISKIN TRUSTEE                                                 Statement Period:             Dec 01 2019-Dec 31 2019
   GENERAL AND DISBURSEMENTS                                                 Cust Ref #:                            4123
   3609 HENDERSON BLVD STE 208                                               Primary Account #:                               4123
   TAMPA FL 33629




TD Business Premier Checking
ICPW LIQUIDATIONTRUST                                                                                                 Account #                   4123
MATTHEW A PLISKIN TRUSTEE


ACCOUNT SUMMARY
Beginning Balance                     46,185.23                                       Average Collected Balance                           54,756.55
Electronic Deposits                   56,740.74                                       Interest Earned This Period                              0.00
                                                                                      Interest Paid Year-to-Date                               0.00
Checks Paid                           14,920.98                                       Annual Percentage Yield Earned                         0.00%
Electronic Payments                   40,000.00                                       Days in Period                                             31
Other Withdrawals                     16,740.74
Service Charges                           30.00
Ending Balance                        31,234.25



DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                                                                    AMOUNT
12/13            eTransfer Credit, Online Xfer                                                                                            40,000.00
                      Transfer from MMKT            3018
12/24            eTransfer Credit, Online Xfer                                                                                            16,740.74
                      Transfer from MMKT            3018

                                                                                                             Subtotal:                    56,740.74
Checks Paid      No. Checks: 2     *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE            SERIAL NO.                  AMOUNT
12/23           1154                          325.00
12/23           1155                     14,595.98
                                                                                                             Subtotal:                    14,920.98
Electronic Payments
POSTING DATE     DESCRIPTION                                                                                                                    AMOUNT
12/23            TDBANK BILL PAY CHECK,                                                                                                   40,000.00
                      AMERICAN ARBITRATION ASSOCIATION
                      CHECK# 995078

                                                                                                             Subtotal:                    40,000.00
Other Withdrawals
POSTING DATE     DESCRIPTION                                                                                                                    AMOUNT
12/24            WIRE TRANSFER OUTGOING, Dentons Us Llp                                                                                   16,715.74
12/24            WIRE TRANSFER FEE                                                                                                            25.00
                                                                                                             Subtotal:                    16,740.74




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    How to Balance your Account                                                                                                               Page:                                   2 of 3

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         31,234.25
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                      STATEMENT OF ACCOUNT


   ICPW LIQUIDATION TRUST
   MATTHEW A PLISKIN TRUSTEE                          Page:                                  3 of 3
                                                      Statement Period:    Dec 01 2019-Dec 31 2019
                                                      Cust Ref #:                   4123
                                                      Primary Account #:                      4123




DAILY ACCOUNT ACTIVITY
Service Charges
POSTING DATE      DESCRIPTION                                                                     AMOUNT
12/31             MAINTENANCE FEE                                                                     30.00
                                                                            Subtotal:                 30.00


DAILY BALANCE SUMMARY
DATE                              BALANCE                   DATE                                 BALANCE
11/30                            46,185.23                  12/23                               31,264.25
12/13                            86,185.23                  12/31                               31,234.25




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    ICPW LIQUIDATION TRUST                                           Page:                                      1 of 2
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:        Oct 01 2019-Oct 31 2019
    CLASS 1 RESERVE                                                  Cust Ref #:                       9869
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                          9869
    TAMPA FL 33629




TD now accepts Real Time Payments!
We're pleased to announce that TD will soon accept Real Time Payments (RTPs), which means you can receive certain
electronic payments sent through RTP almost immediately. This is good news for consumers, businesses, and government
agencies who use RTPs. As a TD Customer, you are automatically enrolled. Please be advised that you may not send or receive
RTPs on behalf of a person who is not a resident of, or otherwise residing in, the United States. Please visit tdbank.com/RTP to
learn more.

Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                Account #            9869
MATTHEW A PLISKIN TRUSTEE
CLASS 1 RESERVE


ACCOUNT SUMMARY
Beginning Balance                     391,408.34                            Average Collected Balance              391,426.74
Other Credits                             570.49                            Interest Earned This Period                570.49
                                                                            Interest Paid Year-to-Date               6,806.13
Ending Balance                        391,978.83                            Annual Percentage Yield Earned             1.73%
                                                                            Days in Period                                 31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                        AMOUNT
10/31              INTEREST PAID                                                                                         570.49
                                                                                              Subtotal:                  570.49


DAILY BALANCE SUMMARY
DATE                                    BALANCE                             DATE                                     BALANCE
09/30                                 391,408.34                            10/31                                 391,978.83




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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       391,978.83
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                               7     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Nov 01 2019-Nov 30 2019
   CLASS 1 RESERVE                                   Cust Ref #:                   9869
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      9869
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                            Account #            9869
MATTHEW A PLISKIN TRUSTEE
CLASS 1 RESERVE


ACCOUNT SUMMARY
Beginning Balance               391,978.83                 Average Collected Balance          391,995.47
Other Credits                       499.37                 Interest Earned This Period            499.37
                                                           Interest Paid Year-to-Date           7,305.50
Ending Balance                  392,478.20                 Annual Percentage Yield Earned         1.56%
                                                           Days in Period                             30



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
11/29            INTEREST PAID                                                                       499.37
                                                                           Subtotal:                 499.37


DAILY BALANCE SUMMARY
DATE                              BALANCE                  DATE                                 BALANCE
10/31                           391,978.83                 11/29                             392,478.20




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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       392,478.20
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                               7     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Dec 01 2019-Dec 31 2019
   CLASS 1 RESERVE                                   Cust Ref #:                   9869
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      9869
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                            Account #            9869
MATTHEW A PLISKIN TRUSTEE
CLASS 1 RESERVE


ACCOUNT SUMMARY
Beginning Balance               392,478.20                 Average Collected Balance          392,493.79
Other Credits                       483.34                 Interest Earned This Period            483.34
                                                           Interest Paid Year-to-Date           7,788.84
Ending Balance                  392,961.54                 Annual Percentage Yield Earned         1.46%
                                                           Days in Period                             31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
12/31            INTEREST PAID                                                                       483.34
                                                                           Subtotal:                 483.34


DAILY BALANCE SUMMARY
DATE                              BALANCE                  DATE                                 BALANCE
11/30                           392,478.20                 12/31                             392,961.54




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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       392,961.54
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                             7       STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                           Page:                                      1 of 2
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:        Oct 01 2019-Oct 31 2019
    TAX RESERVE                                                      Cust Ref #:                       9893
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                          9893
    TAMPA FL 33629




TD now accepts Real Time Payments!
We're pleased to announce that TD will soon accept Real Time Payments (RTPs), which means you can receive certain
electronic payments sent through RTP almost immediately. This is good news for consumers, businesses, and government
agencies who use RTPs. As a TD Customer, you are automatically enrolled. Please be advised that you may not send or receive
RTPs on behalf of a person who is not a resident of, or otherwise residing in, the United States. Please visit tdbank.com/RTP to
learn more.

Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                Account #            9893
MATTHEW A PLISKIN TRUSTEE
TAX RESERVE


ACCOUNT SUMMARY
Beginning Balance                      92,195.54                            Average Collected Balance               92,199.87
Other Credits                             134.38                            Interest Earned This Period                134.38
                                                                            Interest Paid Year-to-Date               1,603.17
Ending Balance                         92,329.92                            Annual Percentage Yield Earned             1.73%
                                                                            Days in Period                                 31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                        AMOUNT
10/31              INTEREST PAID                                                                                         134.38
                                                                                              Subtotal:                  134.38


DAILY BALANCE SUMMARY
DATE                                    BALANCE                             DATE                                     BALANCE
09/30                                  92,195.54                            10/31                                   92,329.92




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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         92,329.92
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                               7     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Nov 01 2019-Nov 30 2019
   TAX RESERVE                                       Cust Ref #:                   9893
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      9893
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                            Account #            9893
MATTHEW A PLISKIN TRUSTEE
TAX RESERVE


ACCOUNT SUMMARY
Beginning Balance                92,329.92                 Average Collected Balance           92,333.84
Other Credits                       117.63                 Interest Earned This Period            117.63
                                                           Interest Paid Year-to-Date           1,720.80
Ending Balance                   92,447.55                 Annual Percentage Yield Earned         1.56%
                                                           Days in Period                             30



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
11/29            INTEREST PAID                                                                       117.63
                                                                           Subtotal:                 117.63


DAILY BALANCE SUMMARY
DATE                              BALANCE                  DATE                                 BALANCE
10/31                            92,329.92                 11/29                               92,447.55




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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         92,447.55
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                               7     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Dec 01 2019-Dec 31 2019
   TAX RESERVE                                       Cust Ref #:                   9893
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      9893
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                            Account #            9893
MATTHEW A PLISKIN TRUSTEE
TAX RESERVE


ACCOUNT SUMMARY
Beginning Balance                92,447.55                 Average Collected Balance           92,451.22
Other Credits                       113.85                 Interest Earned This Period            113.85
                                                           Interest Paid Year-to-Date           1,834.65
Ending Balance                   92,561.40                 Annual Percentage Yield Earned         1.46%
                                                           Days in Period                             31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
12/31            INTEREST PAID                                                                       113.85
                                                                           Subtotal:                 113.85


DAILY BALANCE SUMMARY
DATE                              BALANCE                  DATE                                 BALANCE
11/30                            92,447.55                 12/31                               92,561.40




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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         92,561.40
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
